                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DMSION
                              NO. 7:19-CR-00084-D


UNITED STATES OF AMERICA

                v.

MARTIN ELLIOTT BROOKS


                             ORDER OF FORFEITURE

      WHEREAS, pursuant to the entry of a plea of guilty by the defendant on March

10, 2020 to a violation of 18 U.S.C. §§ 922(g) and 924, and pursuant to all other

!:)vidence of record, the Court finds that the following personal property is hereby

forfeitable pursuant to 18 U.S.C. § 924(d)(l), to wit:

            •   Titan, .25 Caliber Handgun, bearing serial number D945236, and

            •   Any and all related ammunition;

      AND WHEREAS, by virtue of said finding, the United States is now entitled

to possession of said personal property, pursuant to Fed. R. Crim. P. 32.2(b)(3);

     . It is hereby ORDERED, ADJUDGED and DECREED:

      1.        That based upon the Guilty Plea as to the defendant, and all other

evidence of record, the United States is hereby authorized to seize the above-stated

personal property, and it is hereby forfeited to the United States for disposition in

accordance with the law, including destruction, as allowed by Fed. R. Crim. P.

32.2(b)(3). In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), this Order shall become

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final as to the defendant at sentencing.

      2. · That upon sentencing and issuance of the Judgment and Commitment

Order, the Clerk of Court is directed to incorporate a reference to this Order of

Forfeiture in the applicable section of the Judgment, as required by Fed. R. Crim. P.

32.2(b)(4)(B).

       SO ORDERED. This _1_l day of        ~Pitt a r
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                                       J   ES C. DEVER III
                                       United States District Judge




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